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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                               CASE NO. 4:04-CR-018-SPM

JONATHAN WILLIAMS,

           Defendant.
_____________________________/

    ORDER DIRECTING GOVERNMENT TO FILE WRITTEN RESPONSE
  TO DEFENDANT’S MOTION TO CONSIDER RELIEF UNDER RULE 35(b)

        THIS CAUSE comes before the Court upon Defendant’s “Motion for

Clairification [sic]” (doc. 89) filed March 23, 2006. Defendant alleges that during

plea negotiations, the Government agreed to file a Rule 35 motion for the

substantial assistance Defendant provided “concerning other individuals.”

        Having examined the motion, the Court finds that a response is warranted

by the Government. Thus, it is

        ORDERED AND ADJUDGED as follows:

        1.    The Government is directed to file a written response to the motion

              on or before April 4, 2006 and discuss whether Defendant is

              entitled to relief.
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         2.     Alternatively, the Government may file a motion pursuant to Rule

                35 on or before April 4, 2006.

         3.     Defendant shall file a reply to the response on or before April 12,

                2006.

         DONE AND ORDERED this twenty-seventh day of March, 2006.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge

/pao




Case No.: 4:01-CR-029-SPM
